              Case 18-10752-VFP                   Doc 1     Filed 01/13/18 Entered 01/13/18 12:26:13                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                William Focazio, MD, PA

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  999 Clifton Avenue
                                  Clifton, NJ 07013
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Passaic                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    William Focazio, MD, PA                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known




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Debtor   William Focazio, MD, PA                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    William Focazio, MD, PA                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 13, 2018
                                                  MM / DD / YYYY


                             X   /s/ William Focazio, M.D.                                                William Focazio, M.D.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Principal




18. Signature of attorney    X   /s/ Anthony Sodono, III                                                   Date January 13, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Anthony Sodono, III
                                 Printed name

                                 Trenk, DiPasquale, Della Fera & Sodono, P.C.
                                 Firm name

                                 347 Mount Pleasant Avenue
                                 Suite 300
                                 West Orange, NJ 07052
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973-243-8600                  Email address      asodono@trenklawfirm.com

                                 007631990
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     William Focazio, MD, PA                                                          Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                   Chapter     11
                                                                                                                           Check if this an
                                                                                                                           amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Endo Surgical Center of North Jersey                                    Relationship to you               Affiliate
District   New Jersey                                 When     1/13/18             Case number, if known             18-
Debtor     Fenner Ave., LLC                                                        Relationship to you               Affiliate
District   New Jersey                                 When     1/13/18             Case number, if known             18-




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
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            Case 18-10752-VFP                         Doc 1          Filed 01/13/18 Entered 01/13/18 12:26:13                   Desc Main
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 Fill in this information to identify the case:

 Debtor name         William Focazio, MD, PA

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 13, 2018                        X /s/ William Focazio, M.D.
                                                                       Signature of individual signing on behalf of debtor

                                                                       William Focazio, M.D.
                                                                       Printed name

                                                                       Principal
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 18-10752-VFP                         Doc 1      Filed 01/13/18 Entered 01/13/18 12:26:13                                          Desc Main
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 Fill in this information to identify the case:
 Debtor name William Focazio, MD, PA
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Toscano & Amato,                                                Services                                                                                                 $78,430.00
 CPA
 80 Rt. 4, E
 Ste. 150
 Paramus, NJ 07652
 Montclair                                                       Lawsuit                                                                                                  $62,090.00
 Anesthesia
 Associates, P.C.
 c/o Christopher W.
 Hliboki, Esq.
 One University
 JPlaza, Ste. 210
 Hackensack, NJ
 07601
 Abdy & Kane, P.C.                                               Services                                                                                                 $37,408.00
 97 Lackawanna
 Avenue, Ste. 301
 Totowa, NJ 07512
 Ashford-Schael                                                  Services                                                                                                 $33,276.85
 511 Summit Avenue
 Westfield, NJ 07090
 NCI                                                                                                                                                                      $23,079.70
 48 Third Street
 Kearny, NJ 07032
 Law Firm of Brian                                                                                                                                                        $12,281.75
 W. Hofmeister LLC
 3131 Princeton Pike
 Bldg. 5, Ste. 110
 Lawrenceville, NJ
 08648
 Precision Billing &                                                                                                                                                        $7,943.44
 Consulting Services
 940 Main Street
 Hackensack, NJ
 07601




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    William Focazio, MD, PA                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DocEnomics Inc.                                                                                                                                                            $7,726.78
 1401 Constitution
 Ave., NW
 Washington, DC
 20230
 Positive Physicians                                                                                                                                                        $3,246.78
 Insurance
 850 Cassatt Road
 100 Berwyn Park,
 Ste. 220
 Berwyn, PA 19312
 Dave and Dan                                                                                                                                                               $3,018.12
 Landscaping
 236 Colfax Avenue
 Clifton, NJ 07013
 Levy MG                                                                                                                                                                    $2,945.00
 4 Smithfield Street
 Pittsburgh, PA
 15222
 Higher Images                                                                                                                                                              $2,550.00
 3368 Commercial
 Street
 Bridgeville, PA
 15017
 Staples                                                                                                                                                                    $2,542.56
 Dept. NY
 PO Box 415256
 Boston, MA 02241
 Aetna                                                                                                                                                                      $2,337.46
 PO Box 981106
 El Paso, TX
 79998-1106
 PSE&G Co.                                                       Utilities                                                                                                  $2,176.00
 PO Box 14444
 New Brunswick, NJ
 08906-4444
 Metro MSP, LLC                                                                                                                                                             $2,162.99
 8 Woodhollow Road
 Plaza 4
 Parsippany, NJ
 07054
 Passaic Valley                                                                                                                                                             $1,636.96
 Water Commission
 PO Box 11393
 Newark, NJ
 07101-4393
 Poforma Spectrum                                                                                                                                                           $1,368.92
 Graphics Unlimited
 373 US 46, 3130
 Fairfield, NJ 07004




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    William Focazio, MD, PA                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Deanco Building                                                                                                                                                              $961.88
 Solutions Inc.
 208 Lenox Ave.
 Westfield, NJ 07090
 WB Mason                                                                                                                                                                     $649.33
 555 Secaucus Road
 Secaucus, NJ 07094




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            William Focazio, MD, PA

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,131,538.78

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,131,538.78


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       12,241,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           593,360.83


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         12,834,360.83




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         William Focazio, MD, PA

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America                                         Business Checking               2562                                     $4,412.74




           3.2.     Chase                                                   Business Checking               9698                                     $1,405.69




           3.3.     Valley National Bank                                    Business Checking               3381                                     $5,203.05



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $11,021.48
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     PSE&G                                                                                                                            $2,500.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         William Focazio, MD, PA                                                           Case number (If known)
                Name




 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                $2,500.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            499,414.81   -                                   0.00 = ....                $499,414.81
                                              face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                               614,102.49   -                                  0.00 =....                  $614,102.49
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                           $1,113,517.30
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used   Current value of
                                                                                 debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         William Focazio, MD, PA                                                       Case number (If known)
                Name

           4 desks; 10 chairs; 1 TV                                                         $0.00                                            $500.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Exam beds; 16 computers; 1 EKG machine; 1
           blood pressure monitor                                                           $0.00                                          $4,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $4,500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 999 Clifton
                     Ave.,Clifton, NJ

                     Debtor leases office
                     space on days its
                     office is closed.                                                      $0.00                                                 $0.00




 56.       Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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            Case 18-10752-VFP                         Doc 1           Filed 01/13/18 Entered 01/13/18 12:26:13        Desc Main
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 Debtor         William Focazio, MD, PA                                                      Case number (If known)
                Name



 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
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 Debtor          William Focazio, MD, PA                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $11,021.48

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $2,500.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,113,517.30

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $4,500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,131,538.78            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,131,538.78




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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             Case 18-10752-VFP                        Doc 1           Filed 01/13/18 Entered 01/13/18 12:26:13                                Desc Main
                                                                     Document      Page 18 of 47
 Fill in this information to identify the case:

 Debtor name          William Focazio, MD, PA

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    First Commerce Bank                           Describe debtor's property that is subject to a lien             $12,241,000.00                   Unknown
        Creditor's Name                               Blanket lien
        c/o Daniel F. Corrigan, Esq.
        Windels Marx Lane &
        Mittendorf, LLP
        120 Albany Street Plaza
        New Brunswick, NJ 08901
        Creditor's mailing address                    Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                          $12,241,000.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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             Case 18-10752-VFP                        Doc 1           Filed 01/13/18 Entered 01/13/18 12:26:13                                  Desc Main
                                                                     Document      Page 19 of 47
 Fill in this information to identify the case:

 Debtor name         William Focazio, MD, PA

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           $0.00
           New Jersey Division of Taxation                           Check all that apply.
           Compliance & Enforcement -                                   Contingent
           Bankruptcy                                                   Unliquidated
           50 Barrack Street, 9th Fl.                                   Disputed
           PO Box 245
           Trenton, NJ 08695-0267
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 8
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 Debtor       William Focazio, MD, PA                                                                         Case number (if known)
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 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    $0.00
           NJ Dept. of Labor & Workforce                             Check all that apply.
           Devel.                                                       Contingent
           Div. of Unemployment & Disability                            Unliquidated
           Insur.                                                       Disputed
           Bankruprxy Unir
           1 John Fitch Plaza, PO Box 951
           Trenton, NJ 08611-0951
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    $0.00
           NJ Dept. of Labor - Div. Employer                         Check all that apply.
           Accts.                                                       Contingent
           1 John Fitch Plaza                                           Unliquidated
           PO Box 379                                                   Disputed
           Trenton, NJ 08611-0379
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $37,408.00
           Abdy & Kane, P.C.                                                           Contingent
           97 Lackawanna Avenue, Ste. 301                                              Unliquidated
           Totowa, NJ 07512                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $90.37
           Advanced Collections Inc.                                                   Contingent
           9520 63rd Road, #2E                                                         Unliquidated
           Rego Park, NY 11374                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $2,337.46
           Aetna                                                                       Contingent
           PO Box 981106                                                               Unliquidated
           El Paso, TX 79998-1106                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 8
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 Debtor       William Focazio, MD, PA                                                                 Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $106.88
          Apex Pest Control                                                     Contingent
          131 Pine Street                                                       Unliquidated
          Montclair, NJ 07042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,276.85
          Ashford-Schael                                                        Contingent
          511 Summit Avenue                                                     Unliquidated
          Westfield, NJ 07090                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       0301
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $554.58
          Billco                                                                Contingent
          220 S. ridgedale Ave., #B2                                            Unliquidated
          Florham Park, NJ 07932                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,018.12
          Dave and Dan Landscaping                                              Contingent
          236 Colfax Avenue                                                     Unliquidated
          Clifton, NJ 07013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $961.88
          Deanco Building Solutions Inc.                                        Contingent
          208 Lenox Ave.                                                        Unliquidated
          Westfield, NJ 07090                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,726.78
          DocEnomics Inc.                                                       Contingent
          1401 Constitution Ave., NW                                            Unliquidated
          Washington, DC 20230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $108,000.00
          DVCO LLC                                                              Contingent
          999 Clifton Ave.                                                      Unliquidated
          Clifton, NJ 07013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 8
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 Debtor       William Focazio, MD, PA                                                                 Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $195,000.00
          Focazio, William J.                                                   Contingent
          106 Fox Hedge Road                                                    Unliquidated
          Saddle River, NJ 07458                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $527.81
          Garden State Irrigation Inc.                                          Contingent
          50 West Main Street, Ste. 5                                           Unliquidated
          Wyckoff, NJ 07481                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Giglio, Anita                                                         Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,550.00
          Higher Images                                                         Contingent
          3368 Commercial Street                                                Unliquidated
          Bridgeville, PA 15017                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,281.75
          Law Firm of Brian W. Hofmeister LLC                                   Contingent
          3131 Princeton Pike                                                   Unliquidated
          Bldg. 5, Ste. 110                                                     Disputed
          Lawrenceville, NJ 08648
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Lawrence J. Thomson, Rent Receiver
          c/o Eva K. Carey, Esq.                                                Contingent
          Windels Marx Lane & Mittendorf LLP                                    Unliquidated
          120 Albany Street, 6th Fl.                                            Disputed
          New Brunswick, NJ 08901
                                                                             Basis for the claim:    Lawsuit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,945.00
          Levy MG                                                               Contingent
          4 Smithfield Street                                                   Unliquidated
          Pittsburgh, PA 15222                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 8
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 Debtor       William Focazio, MD, PA                                                                 Case number (if known)
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,162.99
          Metro MSP, LLC                                                        Contingent
          8 Woodhollow Road                                                     Unliquidated
          Plaza 4                                                               Disputed
          Parsippany, NJ 07054
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $62,090.00
          Montclair Anesthesia Associates, P.C.                                 Contingent
          c/o Christopher W. Hliboki, Esq.                                      Unliquidated
          One University JPlaza, Ste. 210                                       Disputed
          Hackensack, NJ 07601
                                                                             Basis for the claim:    Lawsuit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,079.70
          NCI                                                                   Contingent
          48 Third Street                                                       Unliquidated
          Kearny, NJ 07032                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $374.76
          On Hold Marketing & Communications                                    Contingent
          17 W. Merrick Road                                                    Unliquidated
          Valley Stream, NY 11580                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,636.96
          Passaic Valley Water Commission                                       Contingent
          PO Box 11393                                                          Unliquidated
          Newark, NJ 07101-4393                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $456.67
          Pitney Bowes Purchase Power                                           Contingent
          PO Box 371874                                                         Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,368.92
          Poforma Spectrum Graphics Unlimited                                   Contingent
          373 US 46, 3130                                                       Unliquidated
          Fairfield, NJ 07004                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 8
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              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,246.78
          Positive Physicians Insurance                                         Contingent
          850 Cassatt Road                                                      Unliquidated
          100 Berwyn Park, Ste. 220                                             Disputed
          Berwyn, PA 19312
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,943.44
          Precision Billing & Consulting Services                               Contingent
          940 Main Street                                                       Unliquidated
          Hackensack, NJ 07601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,176.00
          PSE&G Co.                                                             Contingent
          PO Box 14444                                                          Unliquidated
          New Brunswick, NJ 08906-4444                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number       8206
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $207.99
          RMS                                                                   Contingent
          1185 6th Ave., #36                                                    Unliquidated
          New York, NY 10360                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $146.42
          Sharp Elevator Company, Inc.                                          Contingent
          11 Broad Street                                                       Unliquidated
          Freehold, NJ 07728                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,542.56
          Staples                                                               Contingent
          Dept. NY                                                              Unliquidated
          PO Box 415256                                                         Disputed
          Boston, MA 02241
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $78,430.00
          Toscano & Amato, CPA                                                  Contingent
          80 Rt. 4, E                                                           Unliquidated
          Ste. 150                                                              Disputed
          Paramus, NJ 07652
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 8
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 Debtor       William Focazio, MD, PA                                                                 Case number (if known)
              Name

 3.32      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $62.83
           United Healthcare Medicare Solutions                                 Contingent
           128 Pine Aire Drive                                                  Unliquidated
           North Bay Shore, NY 11706                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $649.33
           WB Mason                                                             Contingent
           555 Secaucus Road                                                    Unliquidated
           Secaucus, NJ 07094                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           Wells Fargo                                                          Contingent
           PO Box 6434                                                          Unliquidated
           Carol Stream, IL 60197                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment lease
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       New Jersey Attorney General's Office
           Division of Law                                                                            Line     2.2
           Richard J. Hughes Justice Complex
                                                                                                             Not listed. Explain
           25 Market St., PO Box 112
           Trenton, NJ 08625-0112

 4.2       Suzanne M. Klar, Esq.
           PSEG Service Corp.                                                                         Line     3.27
           80 Park Place T5D
                                                                                                             Not listed. Explain
           Newark, NJ 07101-4109

 4.3       United States Attorney
           Peter Rodino Federal Building                                                              Line     2.1
           970 Broad Street, Ste. 700
                                                                                                             Not listed. Explain
           Newark, NJ 07102

 4.4       United States Attorney General
           United States Department of Justice                                                        Line     2.1
           Ben Franklin Station
                                                                                                             Not listed. Explain
           PO Box 683
           Washington, DC 20044


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                     593,360.83


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 8
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 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              593,360.83




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                Page 8 of 8
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 Fill in this information to identify the case:

 Debtor name         William Focazio, MD, PA

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Lease Agreement -
             lease is for and the nature of               $6,000/mo.
             the debtor's interest

                  State the term remaining
                                                                                     DVCO LLC
             List the contract number of any                                         999 Clifton Avenue
                   government contract                                               Clifton, NJ 07013


 2.2.        State what the contract or                   Collection Agreement
             lease is for and the nature of               dated November 16,
             the debtor's interest                        2017; one year term.

                  State the term remaining
                                                                                     Medtrx Collection Services, LLC
             List the contract number of any                                         1 Kalisa Way, Ste. 201
                   government contract                                               Paramus, NJ 07652


 2.3.        State what the contract or                   Equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         Wells Fargo
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         William Focazio, MD, PA

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 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Arthur St. Realty,                                                                   First Commerce Bank               D   2.1
             LLC                                                                                                                    E/F
                                                                                                                                    G




    2.2      DVCO LLC                          999 Clifton Avenue                                 First Commerce Bank               D   2.1
                                               Clifton, NJ 07013                                                                    E/F
                                                                                                                                    G




    2.3      Endo Surgical                     999 Clifton Avenue                                 First Commerce Bank               D   2.1
             Center of North                   Clifton, NJ 07013                                                                    E/F
             Jersey, PC
                                                                                                                                    G




    2.4      Endo Surgical                     999 Clifton Avenue                                 Montclair Anesthesia              D
             Center of North                   Clifton, NJ 07013                                  Associates, P.C.                  E/F       3.19
             Jersey, PC
                                                                                                                                    G




    2.5      Fox Hedge                                                                            First Commerce Bank               D   2.1
             Manor, LLC                                                                                                             E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Metropolitan                                                                         First Commerce Bank       D   2.1
             Anesthesia, LLC                                                                                                E/F
                                                                                                                            G




    2.7      Riverwood                                                                            First Commerce Bank       D   2.1
             Surgical Center,                                                                                               E/F
             LLC
                                                                                                                            G




    2.8      William J.                                                                           First Commerce Bank       D   2.1
             Focazio                                                                                                        E/F
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                           Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         William Focazio, MD, PA

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                          $4,611.09
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                       $177,616.21
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                       $483,246.82
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       For prior year:                                                                         Rental of office 1 day per
       From 1/01/2017 to 12/31/2017                                                            week                                             $34,770.00


       For year before that:
       From 1/01/2016 to 12/31/2016                                                            Rental                                            $1,450.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

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           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               PSE&G Co.                                                   11/16/2017 -                     $15,000.00                Secured debt
               PO Box 14444                                                $5,000                                                     Unsecured loan repayments
               New Brunswick, NJ 08906-4444                                11/24/2017 -                                               Suppliers or vendors
                                                                           $5,000                                                     Services
                                                                           12/4/2017 -
                                                                           $5,000                                                     Other Utilities



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Focazio, William J.                                                                          $48,293.75           In lieu of salary, payment of
               106 Fox Hedge Road                                                                                                automobile expenses.
               Saddle River, NJ 07458
               Principal

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                     Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                    Amount
                                                                                                                               taken
       First Commerce Bank                                       Levy on Bank of America Checking Acct.                        12/8/2017                       $4,834.05
       c/o Daniel F. Corrigan, Esq.                              Last 4 digits of account number: 2562
       Windels Marx Lane & Mittendorf,
       LLP
       120 Albany Street Plaza
       New Brunswick, NJ 08901


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

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 Debtor       William Focazio, MD, PA                                                                       Case number (if known)



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.1.    Lawrence J. Thomson, the                          Eviction                     Superior Court of NJ,                       Pending
               Court-Appointed Rent                                                           Passaic County                              On appeal
               Receiver v. William J.
                                                                                                                                          Concluded
               Focazio, M.D., P.A. and DVCO
               L.L.C.
               PAS-LT-9865-17

       7.2.    First Commerce Bank v.                            Contract                     Superior Court of NJ,                       Pending
               DVCO, L.L.C., et al.                                                           Ocean County                                On appeal
               OCN-L-2380-16; J-20865-17
                                                                                                                                          Concluded

       7.3.    Montclair Anesthesia                              Contract                     Superior Court of NJ, Essex                 Pending
               Associates, P.C. v.                                                            County                                      On appeal
               Endo-Surgical Center of
                                                                                                                                          Concluded
               Clifton and William Focazio,
               M.D., P.A.
               Docket No. ESX-L-1917-13

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address



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                Who was paid or who received                         If not money, describe any property transferred           Dates                 Total amount or
                the transfer?                                                                                                                                 value
                Address
       11.1.    Trenk, DiPasquale, Della Fera
                & Sodono,
                347 Mount Pleasant Avenue
                Suite 300
                West Orange, NJ 07052                                Attorney Fees                                             12/28/2017                $21,717.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers                Total amount or
                                                                                                                      were made                               value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer               Total amount or
               Address                                           payments received or debts paid in exchange             was made                             value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services               If debtor provides meals
                                                                 the debtor provides                                                        and housing, number of
                                                                                                                                            patients in debtor’s care




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                 Facility name and address                       Nature of the business operation, including type of services         If debtor provides meals
                                                                 the debtor provides                                                  and housing, number of
                                                                                                                                      patients in debtor’s care
       15.1.     William Focazio, MD, PA                         Medical practice
                 999 Clifton Avenue
                 Clifton, NJ 07013
                                                                 Location where patient records are maintained (if different from     How are records kept?
                                                                 facility address). If electronic, identify any service provider.
                                                                 Same                                                                 Check all that apply:

                                                                                                                                         Electronically
                                                                                                                                         Paper


 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Name, address, social security number, and insurance card
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    NEED                                                                                       EIN: NEED

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was             Last balance
               Address                                           account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
       Extra Space Storage                                            Access denied due to                Medical records                         No
       515 Broad Street                                               lack of payment                                                             Yes
       Clifton, NJ 07014



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.


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       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Ray Toscano                                                                                                                1-1/2009 - 6/30/2017
                    Roth, Toscano & Amato
                    411 Hackensack Ave., #10
                    Hackensack, NJ 07601

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Ray Toscano
                    Roth, Toscano & Amato
                    411 Hackensack Ave., #10
                    Hackensack, NJ 07601

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Paul Gagliaro
                    Gagliaro & Associates
                    9 James Street
                    Bloomfield, NJ 07003

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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 Debtor       William Focazio, MD, PA                                                                   Case number (if known)



               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1
       .

               Name and address of the person who has possession of
               inventory records
               Passaic County Sheriff



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Focazio, William J.                            106 Fox Hedge Road                                                                        100%
                                                      Saddle River, NJ 07458



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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 Debtor      William Focazio, MD, PA                                                                    Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 13, 2018

 /s/ William Focazio, M.D.                                               William Focazio, M.D.
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Principal

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 9
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re       William Focazio, MD, PA                                                                          Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $     Fees and expenses
                                                                                                                 as allowed by the
                                                                                                                            Court
             Prior to the filing of this statement I have received                                        $                17,120.50*
             Balance Due                                                                                  $     Fees and expenses
                                                                                                                 as allowed by the
                                                                                                                            Court

*Debtor paid a retainer of $21,717 for the Debtor's Ch. 11 representation. Future compensation shall be paid by the Debtor, which fees will be
subject to Bankruptcy Court approval.

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.


     Date                                                                         Anthony Sodono, III
                                                                                  Signature of Attorney
                                                                                  Trenk, DiPasquale, Della Fera & Sodono, P.C.
                                                                                  347 Mount Pleasant Avenue
                                                                                  Suite 300
                                                                                  West Orange, NJ 07052
                                                                                  973-243-8600 Fax: 973-243-8677
                                                                                  asodono@trenklawfirm.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      William Focazio, MD, PA                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Focazio, William J.                                                                                                             100%
 106 Fox Hedge Road
 Saddle River, NJ 07458


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Principal of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 13, 2018                                                       Signature /s/ William Focazio, M.D.
                                                                                            William Focazio, M.D.

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                         District of New Jersey
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                                               VERIFICATION OF CREDITOR MATRIX


I, the Principal of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       January 13, 2018                                            /s/ William Focazio, M.D.
                                                                         William Focazio, M.D./Principal
                                                                         Signer/Title




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                        Abdy & Kane, P.C.
                        97 Lackawanna Avenue, Ste. 301
                        Totowa, NJ 07512


                        Advanced Collections Inc.
                        9520 63rd Road, #2E
                        Rego Park, NY 11374


                        Aetna
                        PO Box 981106
                        El Paso, TX 79998-1106


                        Apex Pest Control
                        131 Pine Street
                        Montclair, NJ 07042


                        Ashford-Schael
                        511 Summit Avenue
                        Westfield, NJ 07090


                        Billco
                        220 S. ridgedale Ave., #B2
                        Florham Park, NJ 07932


                        Dave and Dan Landscaping
                        236 Colfax Avenue
                        Clifton, NJ 07013


                        Deanco Building Solutions Inc.
                        208 Lenox Ave.
                        Westfield, NJ 07090


                        DocEnomics Inc.
                        1401 Constitution Ave., NW
                        Washington, DC 20230


                        DVCO LLC
                        999 Clifton Ave.
                        Clifton, NJ 07013


                        DVCO LLC
                        999 Clifton Avenue
                        Clifton, NJ 07013
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                    Endo Surgical Center of North Jersey, PC
                    999 Clifton Avenue
                    Clifton, NJ 07013


                    First Commerce Bank
                    c/o Daniel F. Corrigan, Esq.
                    Windels Marx Lane & Mittendorf, LLP
                    120 Albany Street Plaza
                    New Brunswick, NJ 08901


                    Focazio, William J.
                    106 Fox Hedge Road
                    Saddle River, NJ 07458


                    Garden State Irrigation Inc.
                    50 West Main Street, Ste. 5
                    Wyckoff, NJ 07481


                    Giglio, Anita



                    Higher Images
                    3368 Commercial Street
                    Bridgeville, PA 15017


                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101-7346


                    Law Firm of Brian W. Hofmeister LLC
                    3131 Princeton Pike
                    Bldg. 5, Ste. 110
                    Lawrenceville, NJ 08648


                    Lawrence J. Thomson, Rent Receiver
                    c/o Eva K. Carey, Esq.
                    Windels Marx Lane & Mittendorf LLP
                    120 Albany Street, 6th Fl.
                    New Brunswick, NJ 08901


                    Levy MG
                    4 Smithfield Street
                    Pittsburgh, PA 15222
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                    Medtrx Collection Services, LLC
                    1 Kalisa Way, Ste. 201
                    Paramus, NJ 07652


                    Metro MSP, LLC
                    8 Woodhollow Road
                    Plaza 4
                    Parsippany, NJ 07054


                    Montclair Anesthesia Associates, P.C.
                    c/o Christopher W. Hliboki, Esq.
                    One University JPlaza, Ste. 210
                    Hackensack, NJ 07601


                    NCI
                    48 Third Street
                    Kearny, NJ 07032


                    New Jersey Attorney General's Office
                    Division of Law
                    Richard J. Hughes Justice Complex
                    25 Market St., PO Box 112
                    Trenton, NJ 08625-0112


                    New Jersey Division of Taxation
                    Compliance & Enforcement - Bankruptcy
                    50 Barrack Street, 9th Fl.
                    PO Box 245
                    Trenton, NJ 08695-0267


                    NJ Dept. of Labor & Workforce Devel.
                    Div. of Unemployment & Disability Insur.
                    Bankruprxy Unir
                    1 John Fitch Plaza, PO Box 951
                    Trenton, NJ 08611-0951


                    NJ Dept. of Labor - Div. Employer Accts.
                    1 John Fitch Plaza
                    PO Box 379
                    Trenton, NJ 08611-0379


                    On Hold Marketing & Communications
                    17 W. Merrick Road
                    Valley Stream, NY 11580
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                    Passaic Valley Water Commission
                    PO Box 11393
                    Newark, NJ 07101-4393


                    Pitney Bowes Purchase Power
                    PO Box 371874
                    Pittsburgh, PA 15250-7874


                    Poforma Spectrum Graphics Unlimited
                    373 US 46, 3130
                    Fairfield, NJ 07004


                    Positive Physicians Insurance
                    850 Cassatt Road
                    100 Berwyn Park, Ste. 220
                    Berwyn, PA 19312


                    Precision Billing & Consulting Services
                    940 Main Street
                    Hackensack, NJ 07601


                    PSE&G Co.
                    PO Box 14444
                    New Brunswick, NJ 08906-4444


                    RMS
                    1185 6th Ave., #36
                    New York, NY 10360


                    Sharp Elevator Company, Inc.
                    11 Broad Street
                    Freehold, NJ 07728


                    Staples
                    Dept. NY
                    PO Box 415256
                    Boston, MA 02241


                    Suzanne M. Klar, Esq.
                    PSEG Service Corp.
                    80 Park Place T5D
                    Newark, NJ 07101-4109
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                    Toscano & Amato, CPA
                    80 Rt. 4, E
                    Ste. 150
                    Paramus, NJ 07652


                    United Healthcare Medicare Solutions
                    128 Pine Aire Drive
                    North Bay Shore, NY 11706


                    United States Attorney
                    Peter Rodino Federal Building
                    970 Broad Street, Ste. 700
                    Newark, NJ 07102


                    United States Attorney General
                    United States Department of Justice
                    Ben Franklin Station
                    PO Box 683
                    Washington, DC 20044


                    WB Mason
                    555 Secaucus Road
                    Secaucus, NJ 07094


                    Wells Fargo
                    PO Box 6434
                    Carol Stream, IL 60197


                    Wells Fargo
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for William Focazio, MD, PA in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 January 13, 2018                                                      /s/ Anthony Sodono, III
 Date                                                                  Anthony Sodono, III
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for William Focazio, MD, PA
                                                                       Trenk, DiPasquale, Della Fera & Sodono, P.C.
                                                                       347 Mount Pleasant Avenue
                                                                       Suite 300
                                                                       West Orange, NJ 07052
                                                                       973-243-8600 Fax:973-243-8677
                                                                       asodono@trenklawfirm.com




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